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                                          UNITED STATES DISTRICT COURT
10
                                       NORTHERN DISTRICT OF CALIFORNIA
11
                                              SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                             )       No. CR-05-00491 VRW
                                                           )
14            Plaintiff,                                   )
                                                           )       [PROPOSED] DETENTION ORDER
15       v.                                                )
                                                           )
16   YEVGENY FRIDMAN,                                      )
                                                           )
17            Defendant.                                   )
                                                           )
18
19            On September 7, 2005, a hearing was held concerning the government’s motion that
20   Defendant, YEVGENY FRIDMAN, be detained pending trial. After reviewing the Pretrial Services
21   report and hearing the arguments of counsel for the government and counsel for Defendant, the Court
22   orders Defendant DETAINED without prejudice to reopening detention proceedings. The Court finds
23   by a preponderance of the evidence that there are no combination of conditions that will reasonably
24   assure the appearance of Defendant, and thus that there is a serious risk that Defendant will flee if
25   released pending trial. As stated at the hearing, the Court makes this finding for several reasons set
26   forth in the Pretrial Services report and proffered by the government, including the following:
27            (1)          Defendant had failed to appear in court as required to face a controlled substances
                           trafficking charge pending against him in San Francisco Superior Court;
28

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1            (2)     Defendant stated that he failed to appear in that state case because he feared he would
                     be arrested on pending federal charges;
2
             (3)     Defendant apparently knew of the pending federal charges and tried to avoid arrest for
3                    approximately 6 weeks;
4            (4)     prior to August 16, 2005, an attorney advised Defendant to turn himself in, but
                     defendant did not do so;
5
             (5)     Defendant has no stable residence, stated he did not live with his sister, and refused to
6                    provide a residential address; and
7            (6)     Defendant appears to be a heavy user of controlled substances, including
                     methamphetamine.
8
9            For those reasons, and for the other reasons stated at the hearing, the Court finds that

10   Defendant poses a serious risk of flight.
11           As stated at the hearing, the Court makes no finding on whether Defendant would pose a
12   danger to the community if released pending trial.
13           Therefore, IT IS HEREBY ORDERED THAT:
14           1.      Defendant, YEVGENY FRIDMAN, shall be committed to the custody of the Attorney

15   General for confinement in a corrections facility separate, to the extent practicable, from persons
16   awaiting or serving sentences or being held in custody pending appeal.
17           2.      Defendant, YEVGENY FRIDMAN, shall be afforded reasonable opportunity for

18   private consultation with counsel; and
19           3.      On order of a court of the United States or on request of an attorney for the
20   government, the person in charge of the corrections facility in which the person is confined shall deliver
21   YEVGENY FRIDMAN to a United States Marshal for the purpose of an appearance in connection
                                                                       S DISTRICT
22                                                                  ATE           C
     with a court proceeding.                                      T
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23           IT IS SO ORDERED.                                                       ERED
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                                                                      Judge Jo
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25   DATED: September 9, 2005                         ____________________________
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                                                      JOSEPH E R C. SPERO
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                                                      United States           F Judge
26                                                                D I Magistrate
                                                                           TOS T RIC

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     [PROP.] DETENTION ORDER RE: DEF. FRIDMAN
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